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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
SHABTAI SCOTT SHATSKY, individually                     :
and as personal representative of the Estate of         :   Case No. 18 Civ. 12355 (MKV)
Keren Shatsky, et al.,                                  :
                                                        :
                       Plaintiffs,                      :
                                                        :
         -v-                                            :
                                                        :
THE PALESTINE LIBERATION                                :
ORGANIZATION, and THE                                   :
PALESTINIAN AUTHORITY (a/k/a “The                       :
Palestinian Interim Self-Government                     :
Authority” and/or “The Palestinian National :
Authority),                                             :
                                                        :
                       Defendants.
                                                        :
                                                        :
------------------------------------------------------- X

                    DECLARATION OF JOSEPH S. ALONZO,
       FILED IN SUPPORT OF THE MOTION TO DISMISS BY THE PALESTINE
        LIBERATION ORGANIZATION AND THE PALESTINIAN AUTHORITY


        Joseph S. Alonzo declares as follows:

        1.       I am an attorney admitted to practice before this Court and a partner at Squire Patton

Boggs (US) LLP, counsel to Defendants Palestine Liberation Organization and Palestinian

Authority (“Defendants”). I submit this declaration in support of Defendants’ Motion to Dismiss

for Lack of Personal Jurisdiction.

        2.       Submitted with this declaration are true and correct copies of the April 7, 2021

deposition of Awni Abu Hbda (also spelled as Hba) (as Exhibit A) and the April 8, 2021 deposition

of Fuad Ateyeh (as Exhibit B). Mr. Hbda and Mr. Ateyeh testified as follows:
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       a.      Until 2018, the Palestinian US consulate’s website listed U.S. notaries frequently

               hired by Palestinian-Americans. Hbda Depo. at 115-17, 144-46; Ateyeh Depo. at

               40-43.

       b.      In 2014, the PLO’s Washington consulate sent a contract to Mr. Hbda, a U.S. notary,

               that would make him an “Authorized Notary” if he agreed to certain restrictions

               and conditions, but Mr. Hbda did not sign the contract. Hbda Depo. at 128-29.

       c.      Both Mr. Hbda and Mr. Ateyeh denied any authority to act on behalf of Defendants

               in the United States. Hbda Depo. at 92-93, 119; Ateyeh Depo. at 43, 66.

       d.      Both Mr. Hbda and Mr. Ateyeh testified that they had not performed any service

               “on behalf of” either the PA or PLO since January 4, 2020. Hbda Depo. at 155;

               Ateyeh Depo. at 22-24, 69.

       e.      Both Mr. Hbda and Mr. Ateyeh testified that their business interactions with

               Defendants are limited to sending notarized documents to the PLO’s Canadian or

               Mexican missions for authentication, and occasionally sending emails to the

               Palestinian Land Department regarding real estate. Hbda Depo. at 91-102; Ateyeh

               Depo. at 46-56, 68.

       3.      Based on our review, every website post quoted in the Amended Complaint (see

¶75a-75m) references an official UN communication archived on the UN’s website. For example,

Paragraph 75a quotes a letter to various UN bodies that was archived as relevant to four UN agenda

items, including “Illegal Israeli actions” and “Palestine Question,” with the letter and UN agenda

information available at: https://digitallibrary.un.org/record/3847785?ln=en. Similarly, Paragraph

75b quotes from a letter that was also archived by the UN, with the letter and UN agenda

information available at: https://digitallibrary.un.org/record/3854048?ln=en.     Paragraph 75c




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quotes from a letter that was also archived by the UN, with the letter and UN agenda information

available at https://digitallibrary.un.org/record/3854174?ln=en. Paragraph 75d quotes from a

letter that was also archived by the UN, with the letter and UN agenda information available at:

https://digitallibrary.un.org/record/3854659?ln=en.

       4.      The UN Committee on the Exercise of the Inalienable Rights of the Palestinian

People (“CEIRPP”) has stated that the Palestinian mission is expected to “participate[] in the work

of both the Committee and the Bureau” as part of its observer status. Report, CEIRPP, UN Doc.

A/75/35, at: https://www.un.org/ga/search/view_doc.asp?symbol=A/75/35, ¶ 31. In 2020, the

CEIRPP stated that it would “focus its activities on diplomatic efforts and initiatives to support …

an end to the Israeli occupation” and to “mobilize the international community to stay steadfast in

its support for the inalienable rights of the Palestinian people.” Programme of Work for 2020,

CEIRPP,         UN        Doc.        A/AC.183/2020/1          (Feb.       7,       2020),       at:

https://www.un.org/unispal/document/palestinian-rights-committee-programme-of-work-for-

2020-a-ac-183-2020-1/. “Through its activities,” the CEIRPP stated, it would raise “awareness of

the political, human rights and humanitarian developments on the ground” and seek “to mobilize

the broadest possible international support.” Id.

       5.      The UN and its bodies frequently discuss the Question of Palestine, both in formal

documents and through social media. For example:

            a. Secretary General António Guterres has stated “If there is a hell on earth, it is the

               lives of children in Gaza.” Meetings Coverage, GA/12325 (May 20, 2021),

               available at https://www.un.org/press/en/2021/ga12325.doc.htm.




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         b. The Twitter account for the UK’s UN Mission stated: “What hope is there for 2-

             state solution when communities are simply removed from the map?”

             @UKUN_NewYork (Oct 14, 2016).

         c. The Twitter account for the French UN Mission stated: “No further settlements. No

             colonization.” @FranceONU (Feb. 24, 2020).

         d. The Twitter account for the Turkish UN Mission stated “All illegal settlement and

             demolition activities must stop.” @Turkey_UN (Apr. 23, 2020).

         e. Many other UN documents say similar things, such as draft resolutions G.A. Res.

             No. A/C.4/73/L.18 (Nov. 14, 2018) which condemns “the excessive use of force by

             the Israeli occupying forces against Palestinian civilians, resulting in the death and

             injury of civilians,” and G.A. Res. No. A/73/L.32 (Nov. 23, 2010), which condemns

             “acts of violence, intimidation and provocation by Israeli settlers against

             Palestinian civilians … settlement construction and expansion, home demolitions,

             evictions ...”.

      I declare under penalty of perjury that the foregoing is true and correct.

New York, New York
August 20, 2021


                                                    ______________________________________
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                                                    Organization and Palestinian Authority




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